           Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 1 of 20



                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                                                 )
 In re:                                                          ) Chapter 11
                                                                 )
 ALEXANDER E. JONES,                                             ) Case No. 22-33553 (CML)
                                                                 )
                           Debtor.                               )
                                                                 )

              NOTICE OF FILING OF PROPOSED THIRD AMENDED
          AGREED SCHEDULING ORDER FOR CONFIRMATION HEARING

          PLEASE TAKE NOTICE that, on November 30, 2023, Debtor Alexander E. Jones,

the Official Committee of Unsecured Creditors appointed in the above-captioned case, the

Connecticut Plaintiffs,1 and the Texas Plaintiffs2 (collectively, the “Parties”) filed the

Proposed Agreed Scheduling Order for Confirmation Hearing [ECF No. 511] with the

United States Bankruptcy Court for the Southern District of Texas (the “Court”), which the

Court entered on December 1, 2023 [ECF No. 512].

          PLEASE TAKE FURTHER NOTICE that, on January 29, 2024, the Parties filed

the Proposed Amended Agreed Scheduling Order for Confirmation Hearing [ECF No. 586]

(the “Proposed Amended Scheduling Order”) with the Court, which the Court entered on

January 31, 2024 [ECF No. 595].

          PLEASE TAKE FURTHER NOTICE that, on March 1, 2024, the Parties filed the

Proposed Second Amended Agreed Scheduling Order for Confirmation Hearing [ECF No.

622] (the “Proposed Second Amended Scheduling Order”) with the Court, which the Court

entered on March 5, 2024 [ECF No. 624].




1 The “Connecticut Plaintiffs” are (i) David Wheeler; (ii) Francine Wheeler; (iii) Mark Barden; (iv) Jacqueline

Barden; (v) Nicole Hockley; (vi) Ian Hockley; (vii) Jennifer Hensel; (viii) Donna Soto; (ix) Carlee Soto-Parisi;
(x) Carlos M. Soto; (xi) Jillian Soto Marino; (xii) William Aldenberg; (xiii) William Sherlach; (xiv) Robert
Parker; and (xv) Erica L. Ash.
2 The “Texas Plaintiffs” are: (i) Neil Heslin; (ii) Scarlett Lewis; (iii) Leonard Pozner; (iv) Veronique De La Rosa;

and (v) the Estate of Marcel Fontaine.
          Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 2 of 20



         PLEASE TAKE FURTHER NOTICE that, attached hereto as Exhibit A is the

Proposed Third Amended Agreed Scheduling Order for Confirmation Hearing (the

“Proposed Third Amended Scheduling Order”),3 pursuant to which the Parties have agreed

to extend dates and deadlines in connection with a confirmation hearing in this Chapter 11

Case. Subject to the Court’s availability, the Parties respectfully request that the Court enter

the Proposed Third Amended Scheduling Order.

         PLEASE TAKE FURTHER NOTICE that, for the convenience of the Court and all

parties in interest, a blackline comparison of the Proposed Third Amended Scheduling Order

against the Proposed Second Amended Scheduling Order is attached hereto as Exhibit B.



Dated: April 4, 2024


 /s/ Marty L. Brimmage, Jr.                              /s/ Ryan E. Chapple

 AKIN GUMP STRAUSS HAUER &                               CAIN & SKARNULIS PLLC
 FELD LLP                                                Ryan E. Chapple
 Marty L. Brimmage, Jr.                                  State Bar No. 24036354
 Texas Bar No. 00793386                                  303 Colorado Street, Suite 2850
 2300 N. Field Street, Suite 1800                        Austin, TX 78701
 Dallas, Texas 75201                                     Telephone: (512) 477-5000
 Telephone: (214) 969-2800                               Fax: (512) 477-5011
 Fax: (214) 969-4343                                     E-mail: rchapple@cstrial.com
 E-mail: mbrimmage@akingump.com
                                                         KOSKOFF KOSKOFF & BIEDER, PC
 -and-                                                   Alinor C. Sterling (admitted pro hac vice)
                                                         350 Fairfield Avenue
 David M. Zensky (admitted pro hac vice)                 Bridgeport, CT 06604
 Sara L. Brauner (admitted pro hac vice)                 Telephone: (203) 336-4421
 Katherine Porter (admitted pro hac vice)                E-mail: asterling@koskoff.com
 Anna Kordas (admitted pro hac vice)
 Melanie A. Miller (admitted pro hac vice)               PAUL, WEISS, RIFKIND,
 One Bryant Park                                         WHARTON & GARRISON LLP
 New York, NY 10036                                      Kyle J. Kimpler (admitted pro hac vice)
 Telephone: (212) 872-1000                               Paul Paterson (admitted pro hac vice)
 Fax: (212) 872-1002                                     Leslie Liberman (admitted pro hac vice)

3 Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such terms in

the Proposed Third Amended Scheduling Order.
                                                    2
       Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 3 of 20



E-mail: dzensky@akingump.com                       Vida Robinson (admitted pro hac vice)
E-mail: sbrauner@akingump.com                      1285 Avenue of the Americas
E-mail: kporter@akingump.com                       New York, NY 10019-6064 Telephone:
E-mail: akordas@akingump.com                       (212) 373-3000
E-mail: melanie.miller@akingump.com                Fax: (212) 757-3990
                                                   E-mail: kkimpler@paulweiss.com
Counsel to the Official Committee of               E-mail: ppaterson@paulweiss.com
Unsecured Creditors of Alexander E.                E-mail: lliberman@paulweiss.com
Jones                                              E-mail: virobinson@paulweiss.com

                                                   Co-Counsel to the Connecticut
                                                   Plaintiffs

/s/ Avi Moshenberg
MCDOWELL HETHERINGTON LLP
Avi Moshenberg
State Bar No. 24083532
1001 Fannin Street, Suite 2700
Houston, TX 77002
Telephone: (713) 337-5580
Fax: (713) 337-8850
E-mail: Avi.Moshenberg@mhllp.com

CHAMBERLAIN, HRDLICKA,
WHITE, WILLIAMS & AUGHTRY, PC
Jarrod B. Martin
State Bar No. 24070221
1200 Smith Street, Suite 1400
Houston, TX 77002
Telephone: (713) 356-1280
Fax: (713) 658-2553
E-mail: jarrod.martin@chamberlainlaw.com

WILLKIE FARR & GALLAGHER LLP
Jennifer J. Hardy
State Bar No. 24096068
600 Travis Street
Houston, TX 77002
Telephone: (713) 510-1766
Fax: (713) 510-1799
E-mail: jhardy2@willkie.com

WILLKIE FARR & GALLAGHER LLP
Rachel C. Strickland (admitted pro hac vice)
Stuart R. Lombardi (admitted pro hac vice)
Ciara A. Sisco (admitted pro hac vice)
787 Seventh Avenue
New York, NY 10019
Telephone: (212) 728-8000
                                               3
      Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 4 of 20



Fax: (212) 728-8111
E-mail: rstrickland@willkie.com
E-mail: slombardi@willkie.com
E-mail: csisco@willkie.com
Co-Counsel to the Texas Plaintiffs




                                     4
       Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 5 of 20



                             CERTIFICATE OF SERVICE

       I certify that on April 4, 2024, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                      /s/ Ryan E. Chapple
                                                      Ryan E. Chapple




                                            5
Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 6 of 20



                           Exhibit A




                               6
             Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 7 of 20




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                  )
    In re:                                                        ) Chapter 11
                                                                  )
    ALEXANDER E. JONES,                                           ) Case No. 22-33553 (CML)
                                                                  )
                            Debtor.                               )
                                                                  )

                  PROPOSED THIRD AMENDED AGREED SCHEDULING ORDER
                             FOR CONFIRMATION HEARING

             WHEREAS, Debtor Alexander E. Jones (“Jones”), the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the above-captioned chapter 11 case (the “Jones Case”),

the Texas Plaintiffs,1 and the Connecticut Plaintiffs2 (collectively, the “Parties”) have met and

conferred regarding the scheduling of dates relevant to a confirmation hearing to commence on

Tuesday, May 21, 2024 (the “Confirmation Hearing”) and have agreed to further amend the Second

Amended Agreed Scheduling Order for Confirmation Hearing [ECF No. 624];

             WHEREAS, the Court has considered the proposed schedule in connection with the

Confirmation Hearing;

             IT IS HEREBY ORDERED THAT:

             1.     The following dates and deadlines shall govern confirmation of any plans filed in

the Jones Case, including discovery and the conduct of the Confirmation Hearing:




1
      The Texas Plaintiffs comprise Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel
      Fontaine.
2
      The Connecticut Plaintiffs comprise David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole
      Hockley, Ian Hockley, Jennifer Hensel, Donna Sota, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,
      William Aldenberg, William Sherlach, Robert Parker, and Erica L. Ash.
      Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 8 of 20




                      Event                                               Date
Plan Filing Date. The date by which any
Party or other party in interest must file a plan       Friday, December 15, 2023
(each, a “Plan”).
Jones Disclosure Statement Filing Date.
The date by which Jones must file his
                                                        Friday, December 22, 2023
disclosure statement in support of any Plan he
has proposed.
Committee Disclosure Statement Filing
Date. The date by which the Committee, the
Texas Plaintiffs and the Connecticut Plaintiffs
                                                        Friday, January 5, 2024
and any other party in interest proposing a
Plan must file its disclosure statement in
support thereof.
Written Discovery Deadline. The deadline
by which the Parties and any other parties in
interest shall serve discovery relating to any
Plans, potential objections thereto, and any
other matters to be heard at the Confirmation
Hearing (the “Requests”). The Parties and
other parties in interest may—and are
encouraged to—serve Requests sooner. The
Parties and any other parties in interest shall
                                                        Tuesday, January 9, 2024
serve responses and objections to any
Requests within two weeks of service of the
Requests. For the avoidance of doubt, the
Parties and any other parties in interest shall
meet and confer in good faith regarding
timing and any requested extension of
response deadline. The Parties also reserve
the right to serve Requests at a later date
based on developments since January 9.
Objections to Provisional Approval of
Disclosure Statements. The date by which
Parties and any other parties in interest shall         Tuesday, January 16, 2024
file any objections to the provisional approval
of any disclosure statements filed.
Disclosure Statement Hearing Date. The
date on which the Parties and any other
parties in interest shall, subject to the Court’s
                                                        Wednesday, January 24, 2024
availability, participate in a hearing regarding
any disclosure statements filed to seek
provisional approval thereof.
Solicitation Mailing/Publication Deadline.              Monday, January 29, 2024
Privilege Log Deadline. The date by which
                                                        Tuesday, January 30, 2024
the Parties and any other recipients of the


                                                    2
      Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 9 of 20




Requests shall have provided logs of
documents responsive to the Requests that
were withheld or redacted on the basis of any
claim or privilege.
Substantial Completion of Document
Production. The date by which the Parties
and any other recipients of the Requests shall
substantially complete the production of
documents in response to the Requests.
Parties and any other recipients of the
Requests must commence production of
                                                       Friday, February 2, 2024
documents in response to Requests as soon
as reasonably possible and shall roll out
document production in tranches, as
available. Parties and any other recipients
of the Requests shall not wait until the
substantial completion deadline to
commence production.
Preliminary Witness Lists. The date by
which the Parties and any other parties in
interest shall exchange lists of witnesses each        Monday, March 25, 2024
such party in good faith expects to call at the
Confirmation Hearing.
Fact Witness Depositions. The dates during
                                                       Wednesday, March 27, 2024 – Friday,
which the Parties and any other parties in
                                                       April 19, 2024
interest shall conduct fact witness depositions.
Expert Reports. The date by which the
Parties and any other parties in interest shall
simultaneously exchange expert reports.                Friday, April 12, 2024
Federal Rule of Civil Procedure 26 shall
apply to any expert reports and discovery.
Production of Materials Relied Upon in
Expert Reports. The date by which the
Parties and any other parties in interest shall
produce copies of any documents or data that
                                                       Friday, April 12, 2024
were (a) relied on by such party’s expert in
forming the opinions contained in such report
and (b) have not already been produced in
these cases.
Plan Objection Deadline. The date by
                                                       Monday, April 22, 2024
which objections to any Plan must be filed.
Rebuttal Expert Report. The date by which
the Parties and any other parties in interest          Wednesday, April 24, 2024
may exchange rebuttal expert reports, if any.
Production of Materials Relied Upon in
                                                       Wednesday, April 24, 2024
Rebuttal Expert Reports. The date by


                                                   3
     Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 10 of 20




which the Parties and any other parties in
interest shall produce copies of any
documents or data that were (a) relied on by
such party’s expert in forming the opinions
contained in rebuttal reports and (b) have not
already been produced in these cases.
Expert Depositions. The dates during which
                                                         Wednesday, April 17 – Monday, May 6,
the Parties and any other parties in interest
                                                         2024
shall conduct expert witness depositions.
Exchange of Exhibits. The deadline by
which the Parties and any other parties in
interest shall exchange exhibits with each
other, subject to such Parties’ and parties in
                                                         Wednesday, April 24, 2024
interest’ ability to supplement exhibits with
materials related to expert discovery (such
supplemental materials, “Supplemental
Expert Exhibits”).
Exchange of Final Witness and Exhibit
Lists. The date by which the Parties and any
other parties in interest shall serve a final list
of witnesses and exhibits they intend to offer
at the Confirmation Hearing (including any
                                                         Friday, May 10, 2024
Supplemental Expert Exhibits). Witness lists
shall identify all witnesses that each party will
call and may call at the Confirmation Hearing
and shall provide a brief summary of the
anticipated testimony of each witness.
Objections to Final Witness and Exhibit
Lists. The date by which the Parties and any
other parties in interest must serve any                 Tuesday, May 14, 2024
objections to the final witness and exhibit
lists.
Replies to Objections / Briefs in Support of
Confirmation. The date by which the Parties
and any other parties in interest must file their
                                                         Thursday, May 16, 2024
replies to all timely objections to their
respective Plans and submit any briefs in
support of confirmation of any Plan.
Meet and Confer. The date on which the
Parties and any other parties in interest shall
                                                         Friday, May 17, 2024
meet and confer concerning any objections to
witnesses or exhibits.
Final Pretrial Conference. The date on
                                                         [To be set week prior to Confirmation
which the Parties and any other parties in
                                                         Hearing]
interest shall, subject to the Court’s



                                                     4
     Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 11 of 20




availability, participate in a final pretrial
conference.
Filing of Final Witness and Exhibit Lists
with the Clerk of the Court. The deadline
                                                        [To be set two days before of
by which the Parties and any other parties in
                                                        commencement of Confirmation Hearing]
interest shall file final exhibit and witness
lists with the Clerk of the Court.
Confirmation Hearing Dates. The
timeframe in which the Parties and any other
parties in interest shall complete trial. For the       [Tuesday, May 21, 2024 – Wednesday, May
avoidance of doubt, final approval of any               22, 2024]
disclosure statements filed will be sought
during the Confirmation Hearing.

      2.      Service. The Parties and any other parties in interest agree to serve by email on all

  other Parties and any other parties in interest all discovery requests and written responses.

  Parties producing electronically stored information shall simultaneously transmit or make

  available such productions to all Parties that are bound by the Stipulated Confidentiality

  Agreement and Protective Order, dated February 14, 2023 [FSS ECF No. 461; Jones ECF No.

  159].

      3.      Discovery Disputes. The Parties and any other parties in interest shall promptly

  seek Court intervention regarding any disputes that cannot be resolved consensually, which

  disputes shall be heard by the Court on an expedited basis.

      4.      Intercreditor Discovery. The Connecticut Plaintiffs and the Texas Plaintiffs have

  agreed to hold discovery between themselves in abeyance at present, but in the event either the

  Texas Plaintiffs or the Connecticut Plaintiffs determine to pursue such discovery, they will do

  so on an expedited schedule that results in no delay to the Confirmation Hearing.

      5.      Confirmation Hearing. The Parties and any other parties in interest will meet and

  confer on the details of the Confirmation Hearing, including the sequencing and length of

  witness testimony and the presentation of other evidence.




                                                    5
     Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 12 of 20




         6.   Amendments or Modifications. The Court may amend or modify the terms of

   this Order for good cause shown.

         7.   Retention of Jurisdiction. This Court shall retain jurisdiction over any and all

   matters arising from or related to the interpretation of this Order.



Dated:                ____________________________________
         Houston, Texas     HONORABLE CHRISTOPHER M. LOPEZ
                            UNITED STATES BANKRUPTCY JUDGE




                                                 6
Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 13 of 20



                            Exhibit B




                                7
             Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 14 of 20




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                  )
    In re:                                                        ) Chapter 11
                                                                  )
    ALEXANDER E. JONES,                                           ) Case No. 22-33553 (CML)
                                                                  )
                                 Debtor.                          )
                                                                  )

         PROPOSED SECONDTHIRD AMENDED AGREED SCHEDULING ORDER
                       FOR CONFIRMATION HEARING

             WHEREAS, Debtor Alexander E. Jones (“Jones”), the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the above-captioned chapter 11 case (the “Jones

Case”), the Texas Plaintiffs,1 and the Connecticut Plaintiffs2 (collectively, the “Parties”) have

met and conferred regarding the scheduling of dates relevant to a confirmation hearing to

commence on Tuesday, May 21, 2024 (the “Confirmation Hearing”) and have agreed to further

amend the Second Amended Agreed Scheduling Order for Confirmation Hearing [ECF No. 595]

to allow for continued discussions among the Parties624];

             WHEREAS, the Court has considered the proposed schedule in connection with the

Confirmation Hearing;

             IT IS HEREBY ORDERED THAT:

             1.      The following dates and deadlines shall govern confirmation of any plans filed in

the Jones Case, including discovery and the conduct of the Confirmation Hearing:




1
      The Texas Plaintiffs comprise Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel
      Fontaine.
2
      The Connecticut Plaintiffs comprise David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden,
      Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Sota, Carlee Soto Parisi, Carlos M. Soto, Jillian
      Soto-Marino, William Aldenberg, William Sherlach, and Robert Parker, and Erica L. Ash.


Doc#: US1:19333859v119334790v4
         Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 15 of 20




                       Event                                               Date
 Plan Filing Date. The date by which any
 Party or other party in interest must file a plan       Friday, December 15, 2023
 (each, a “Plan”).
 Jones Disclosure Statement Filing Date.
 The date by which Jones must file his
                                                         Friday, December 22, 2023
 disclosure statement in support of any Plan he
 has proposed.
 Committee Disclosure Statement Filing
 Date. The date by which the Committee, the
 Texas Plaintiffs and the Connecticut Plaintiffs
                                                         Friday, January 5, 2024
 and any other party in interest proposing a
 Plan must file its disclosure statement in
 support thereof.
 Written Discovery Deadline. The deadline
 by which the Parties and any other parties in
 interest shall serve discovery relating to any
 Plans, potential objections thereto, and any
 other matters to be heard at the Confirmation
 Hearing (the “Requests”). The Parties and
 other parties in interest may—and are
 encouraged to—serve Requests sooner. The
 Parties and any other parties in interest shall
                                                         Tuesday, January 9, 2024
 serve responses and objections to any
 Requests within two weeks of service of the
 Requests. For the avoidance of doubt, the
 Parties and any other parties in interest shall
 meet and confer in good faith regarding
 timing and any requested extension of
 response deadline. The Parties also reserve
 the right to serve Requests at a later date
 based on developments since January 9.
 Objections to Provisional Approval of
 Disclosure Statements. The date by which
 Parties and any other parties in interest shall         Tuesday, January 16, 2024
 file any objections to the provisional approval
 of any disclosure statements filed.
 Disclosure Statement Hearing Date. The
 date on which the Parties and any other
 parties in interest shall, subject to the Court’s
                                                         Wednesday, January 24, 2024
 availability, participate in a hearing regarding
 any disclosure statements filed to seek
 provisional approval thereof.
 Solicitation Mailing/Publication Deadline.              Monday, January 29, 2024


                                                     2
Doc#: US1:19333859v1
         Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 16 of 20




 Privilege Log Deadline. The date by which
 the Parties and any other recipients of the
 Requests shall have provided logs of
                                                       Tuesday, January 30, 2024
 documents responsive to the Requests that
 were withheld or redacted on the basis of any
 claim or privilege.
 Substantial Completion of Document
 Production. The date by which the Parties
 and any other recipients of the Requests shall
 substantially complete the production of
 documents in response to the Requests.
 Parties and any other recipients of the
 Requests must commence production of
                                                       Friday, February 2, 2024
 documents in response to Requests as soon
 as reasonably possible and shall roll out
 document production in tranches, as
 available. Parties and any other recipients
 of the Requests shall not wait until the
 substantial completion deadline to
 commence production.
 Preliminary Witness Lists. The date by
 which the Parties and any other parties in
 interest shall exchange lists of witnesses each       Monday, March 25, 2024
 such party in good faith expects to call at the
 Confirmation Hearing.
 Fact Witness Depositions. The dates during
 which the Parties and any other parties in            Wednesday, March 27, 2024 –
 interest shall conduct fact witness                   WednesdayFriday, April 319, 2024
 depositions.
 Expert Reports. The date by which the
 Parties and any other parties in interest shall
 simultaneously exchange expert reports.
                                                       MondayFriday, April 812, 2024
 BankruptcyFederal Rule 7026of Civil
 Procedure 26 shall apply in its entirely to any
 expert reports exchangedand discovery.
 Production of Materials Relied Upon in
 Expert Reports. The date by which the
 Parties and any other parties in interest shall
 produce copies of any documents or data that
                                                       MondayFriday, April 812, 2024
 were (a) relied on by such party’s expert in
 forming the opinions contained in such report
 and (b) have not already been produced in
 these cases.
 Plan Objection Deadline. The date by
                                                       WednesdayMonday, April 1022, 2024
 which objections to any Plan must be filed.
 Rebuttal Expert Report. The date by which             TuesdayWednesday, April 1624, 2024


                                                   3
Doc#: US1:19333859v1
         Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 17 of 20




 the Parties and any other parties in interest
 may exchange rebuttal expert reports, if any.
 Production of Materials Relied Upon in
 Rebuttal Expert Reports. The date by
 which the Parties and any other parties in
 interest shall produce copies of any
                                                          TuesdayWednesday, April 1624, 2024
 documents or data that were (a) relied on by
 such party’s expert in forming the opinions
 contained in rebuttal reports and (b) have not
 already been produced in these cases.
 Expert Depositions. The dates during which
                                                          [Wednesday, April 17 – Tuesday, April
 the Parties and any other parties in interest
                                                          23Monday, May 6, 2024]
 shall conduct expert witness depositions.
 Exchange of Exhibits. The deadline by
 which the Parties and any other parties in
 interest shall exchange exhibits with each
 other, subject to such Parties’ and parties
                                                          Wednesday, April 24, 2024
 in interest’ ability to supplement exhibits
 with materials related to expert discovery
 (such supplemental materials,
 “Supplemental Expert Exhibits”).
 Exchange of Final Witness and Exhibit
 Lists. The date by which the Parties and any
 other parties in interest shall serve a final list
 of witnesses and exhibits they intend to offer
 at the Confirmation Hearing (subject to
 supplementation from ongoing expert
                                                          Friday, May 10, 2024
 depositionsincluding any Supplemental
 Expert Exhibits). Witness lists shall identify
 all witnesses that each party will call and may
 call at the Confirmation Hearing and shall
 provide a brief summary of the anticipated
 testimony of each witness.
 Objections to Final Witness and Exhibit
 Lists. The date by which the Parties and any
 other parties in interest must serve any                 Tuesday, May 14, 2024
 objections to the final witness and exhibit
 lists.
 Replies to Objections / Briefs in Support of
 Confirmation. The date by which the Parties
 and any other parties in interest must file their
                                                          Thursday, May 16, 2024
 replies to all timely objections to their
 respective Plans and submit any briefs in
 support of confirmation of any Plan.
 Meet and Confer. The date on which the                   Friday, May 17, 2024
 Parties and any other parties in interest shall


                                                      4
Doc#: US1:19333859v1
         Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 18 of 20




 meet and confer concerning any objections to
 witnesses or exhibits.
 Final Pretrial Conference. The date on
 which the Parties and any other parties in
                                                           [To be set week prior to Confirmation
 interest shall, subject to the Court’s
                                                           Hearing]
 availability, participate in a final pretrial
 conference.
 Filing of Final Witness and Exhibit Lists
 with the Clerk of the Court. The deadline
                                                           [To be set two days before of
 by which the Parties and any other parties in
                                                           commencement of Confirmation Hearing]
 interest shall file final exhibit and witness
 lists with the Clerk of the Court.
 Confirmation Hearing Dates. The
 timeframe in which the Parties and any other
 parties in interest shall complete trial. For the         [Tuesday, May 21, 2024 – Wednesday, May
 avoidance of doubt, final approval of any                 22, 2024]
 disclosure statements filed will be sought
 during the Confirmation Hearing.

          2.           Service. The Parties and any other parties in interest agree to serve by email on

     all other Parties and any other parties in interest all discovery requests and written responses.

     Parties producing electronically stored information shall simultaneously transmit or make

     available such productions to all Parties that are bound by the Stipulated Confidentiality

     Agreement and Protective Order, dated February 14, 2023 [FSS ECF No. 461; Jones ECF

     No. 159].

          3.           Discovery Disputes. The Parties and any other parties in interest shall promptly

     seek Court intervention regarding any disputes that cannot be resolved consensually, which

     disputes shall be heard by the Court on an expedited basis.

          4.           Intercreditor Discovery. The Connecticut Plaintiffs and the Texas Plaintiffs

     have agreed to hold discovery between themselves in abeyance at present, but in the

     event either the Texas Plaintiffs or the Connecticut Plaintiffs determine to pursue such




                                                       5
Doc#: US1:19333859v1
         Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 19 of 20




     discovery, they will do so on an expedited schedule that results in no delay to the

     Confirmation Hearing.

          45.          Confirmation Hearing. The Parties and any other parties in interest will meet

     and confer on the details of the Confirmation Hearing, including the sequencing and length

     of witness testimony and the presentation of other evidence.

          56.          Amendments or Modifications. The Court may amend or modify the terms of

     this Order for good cause shown.

          67.          Retention of Jurisdiction. This Court shall retain jurisdiction over any and all

     matters arising from or related to the interpretation of this Order.



Dated: [DATE]                        ____________________________________
       Houston, Texas                HONORABLE CHRISTOPHER M. LOPEZ
                                     UNITED STATES BANKRUPTCY JUDGE




                                                       6
Doc#: US1:19333859v1
Case 22-33553 Document 651 Filed in TXSB on 04/04/24 Page 20 of 20




                              Summary report:
     Litera Compare for Word 11.6.0.100 Document comparison done on
                            4/4/2024 5:35:13 PM
 Style name: PW Basic
 Intelligent Table Comparison: Active
 Original DMS: iw://US/US1/19334790/1
 Modified DMS: iw://US/US1/19334790/4
 Changes:
 Add                                                    27
 Delete                                                 29
 Move From                                              0
 Move To                                                0
 Table Insert                                           0
 Table Delete                                           0
 Table moves to                                         0
 Table moves from                                       0
 Embedded Graphics (Visio, ChemDraw, Images etc.)       0
 Embedded Excel                                         0
 Format changes                                         0
 Total Changes:                                         56
